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            U.S. DEPARTMENT OF LABOR



      Employee Benefits Security Administration




      Prohibited Persons

              1. Background. There are two types of Prohibited Persons(1) investigations:

                        a. Proactive investigations into people who are, or are thought to be, currently
                           disqualified under the statute; and

                       b. Responses to debarred persons who are seeking relief from the prohibitions of
                          Section 411.

              2. Proactive Prohibited Persons Investigations. EBSA may investigate people it
                 believes disqualified under Section 411. The purpose of the investigation may simply
                 be to confirm that a person is complying with the debarment or EBSA suspects a
                 person of violating the statutory bar.

              3. Purpose. EBSA is responsible for ensuring disqualified parties do not serve in positions
                 or capacities prohibited under the statute. EBSA conducts proactive investigations to
                 monitor the employment status of disqualified persons. When an initial investigation
                 reveals that a debarred person is serving in a prohibited capacity, EBSA will seek to
                 have the person vacate the prohibited position or role. However, if EBSA already has an
                 open criminal investigation involving the disqualified person, the RO should first speak
                 with the prosecutor before requesting the person to step down. EBSA may remove the
                 person through either a civil injunction or criminal prosecution.

              4. Source of Cases. Case identification includes reviewing available data, conviction
                 records, referrals, media reports or other methods. Whether these initial investigations
                 will lead to criminal investigations will depend on the circumstances of the subjects of
                 the inquiries.




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              5. Case Opening. A Prohibited Persons(2) investigation is a program 47 investigation and
                 it will examine the working status of a disqualified person. Once the investigation is
                 open, the Investigator/Auditor should send the disqualified person an opening letter.
                 Figure 1

              6. Conducting the Investigation

                        a. STEP 1 – Notice of Debarment. In an open case predicated upon a prior EBSA
                           investigation, the first step is to determine whether there was notification to
                           subject of his or her statutory disqualification. Acceptable methods for
                           delivering debarment letters include:

                                  i. Certified mail following the sentencing hearing (EBSA preferred);

                                 ii. By hand directly to the person;

                                iii. In a plea agreement by a prosecutor; or

                                iv. A judge may include the language in the judgment.

                           Check the prior case file to determine whether the subject received a debarment
                           letter. If there is no evidence in the file confirming that the subject ever received
                           such a letter, send the subject a new debarment letter. See Criminal
                           Investigations section, paragraph 26, Figure 6. Place copies of the letter and
                           proof of delivery in both the current and original case file.

                           If another agency provided the Prohibited Person with a debarment letter, the
                           RO should request a copy for its records. If EBSA is not able to obtain a copy, the
                           RO will deliver a separate debarment letter to the defendant.

                       b. STEP 2 – Employment Status. The next step is to confirm the subject's recent
                          and current employment to determine whether ERISA prohibits such
                          employment. If Investigators/Auditors are uncertain as to whether ERISA bars a
                          particular employment or service, the Investigators/Auditors will request
                          guidance from EBSA's Chief, Division of Criminal Investigations.

                           Should an investigation reveal that a barred person is serving in a prohibited
                           capacity, but the person was apparently unaware of his/her disqualification, the
                           RO should deliver a debarment letter to the person, and confirm receipt. This


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                           letter should explain the person’s prohibition from working in his or her present
                           capacity.

                           Because the disqualified persons may not serve in any prohibited capacity, the
                           Investigator/Auditor should promptly notify the employer of the disqualified
                           person's status, when appropriate. If the person consequently files for relief
                           from debarment, then the Investigator/Auditor should follow the steps set out in
                           Part II below.

                           If an investigation discovers that a person is serving in a prohibited capacity
                           despite having been notified of his/her debarment, or simply refuses to depart
                           from a prohibited capacity a er served with a debarment letter, the RO shall
                           seek a civil injunction or open a criminal investigation, as appropriate.

                           Whenever a Prohibited Persons investigation (proactive) reveals that a
                           disqualified person was serving in a prohibited capacity, the RO should consider
                           opening an investigation on the related plan to determine plan harm. This is
                           particularly appropriate if a disqualified person refuses to surrender his/her
                           prohibited position or function.

              7. Preparation of Closing Report of Investigation. ROs will submit all ROIs under
                 proactive investigations as closed reports modeled a er Figure 2.

              8. Regional Director's Transmittal. If a civil injunction is sought, completed ROIs will be
                 transmitted to RSOL with a cover memorandum from the RD setting forth the steps the
                 Investigator/Auditor completed. RO will direct a copy of the recommendation memo
                 and the ROI, without exhibits, to OE (Chief, Division Criminal Investigations). RO should
                 also provide copies of court filings by the Department and the plainti .

                  If the disqualified person refuses to comply with the civil injunction, or if the evidence
                  supports the person may have engaged in criminal activity while in the prohibited role,
                  the RO should open a criminal investigation.

              9. Requests for Relief from Debarment. Section 411(a) of ERISA establishes the
                 procedures for seeking an exemption from the statutory prohibitions(3).

                  EBSA has the authority to conduct investigations and to provide information at court
                  hearings concerning requests for an exemption to Section 411(4). It is the normal
                  procedure for the SOL to represent EBSA in such matters. Requests for reduction of the
                  length of disability should be treated the same as a request for exemption.
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             10. Purpose. When there is a request for EBSA to conduct an investigation related to a
                 motion for relief from Section 411(a), the purpose of the investigation is to provide
                 information to the court or parole commission, rather than to prove an ERISA violation.
                 The investigation should seek aggravating or mitigating evidence with regard to the
                 following three factors:

                        a. The character and gravity of the disqualifying o ense;

                       b. The nature of the position for which the applicant is seeking an exemption; and

                        c. The extent to which the applicant has rehabilitated to meet the standards of
                           responsibility required.

             11. Source of Cases. Cases may be initiated when information is received pertaining to a
                 request for relief.

             12. Case Opening. ROs will open an investigation upon receipt of a request for relief. In
                 some instances, a case opening is unwarranted. For example, due to the minimal
                 passage of time between a guilty plea or conviction and a request for reduction in the
                 bar, or the shortness of time between a request and the sentencing date, the RO may
                 not have new information to contribute. In such instances, opening a case is
                 discretionary with the RD.

                  In cases where a Prohibited Person is occupying a prohibited position,
                  Investigator/Auditors should follow steps described under Proactive Prohibited
                  Persons Investigations.

             13. Investigative Activity. A Prohibited Person Request for Relief investigation requires
                 priority handling and close coordination among the RO, OE (Chief, Division of Criminal
                 Investigations), the SOL and the DOJ. In view of this, when the RO receives information
                 that a request for remedial relief is being sought, an e-mail setting forth the relevant
                 information should be directed to the appropriate PBSD Decentralized Litigation
                 Counsel with a copy to the appropriate RSOL ERISA Counsel and OE (Chief, Division of
                 Criminal Investigations). The e-mail should describe:

                        a. The party seeking relief;

                       b. The jurisdiction involved;

                        c. The nature of the position for which relief is being sought;

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                       d. The crime which caused the bar; and

                        e. Any other relevant information.

                  There will be a determination of which SOL o ice (national or regional) will handle the
                  matter.

                  The investigation of an application before the Parole Commission focuses upon the
                  verification of information that is required to be included in the application by
                  regulations (Figure 3).

                  Investigations predicated on court filings should focus upon the three factors
                  described in paragraph 10 above. The venue for these cases is United States district
                  court, not the Parole Commission. Although a district court may choose to adopt
                  certain Parole Commission procedures with respect to its determination, it is not
                  subject to the regulations governing procedures before the Parole Commission.
                  Further, investigations of cases filed in United States district court may have to address
                  more than the three areas in which the Parole Commission was interested. Accordingly,
                  the Investigator/Auditor should read the pleadings, address any issues raised, and
                  verify any relevant factual assumptions.

             14. Preparation of Closed Report of Investigation. ROs will submit all ROIs under
                 request for relief investigations as closed reports modeled a er Figure 4.

             15. Regional Director's Transmittal. ROs will transmit all ROIs with a cover memorandum
                 from the RD setting forth the RO's recommendation as to whether Department should
                 oppose the motion (Figure 5). The RO should direct the ROI, exhibits, and
                 recommendation memo to the appropriate SOL counsel. RO should direct a copy of the
                 recommendation memo and the ROI, without exhibits, to OE (Chief, Division of
                 Criminal Investigations). The referral should also include copies of court filings by the
                 Department and the plainti .

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        Figure 1
        Initial Contact Letter
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        Draft
        O ce Letterhead
        Certified Mail No.
        Return Receipt Requested

        In reply, please refer to our file no. (47)

        [Date]

        [Subject]
        [Subject's Address]

        RE: Investigation pursuant to ERISA § 411

        Dear [xxxx]:

        The United States Department of Labor is responsible for the administration and
        enforcement of Title I of the Employee Retirement Income Security Act of 1974, as amended
        (ERISA), 29 U.S.C. § 1001 et seq. Investigative authority is vested in the Secretary of Labor by
        ERISA §§ 504 and 506(b), 29 U.S.C. §§ 1134 and 1136(b), respectively.

        Under ERISA § 411, persons who have been convicted of certain enumerated crimes are
        debarred for a period of thirteen (13) years from serving in various capacities related to
        employee benefit plans. Among the crimes requiring debarment is [xx U.S.C. § xxxx], of which
        you were convicted in [year]. The thirteen year debarment period begins on the later of the
        date of conviction or the end of any imprisonment that may have resulted from the
        conviction. According to our records, your debarment period began on [date], which is [the
        date of your conviction] (or) [the date of your release from the imprisonment resulting from
        your conviction].

        This o ice is conducting an investigation to determine your compliance with the bar imposed
        by ERISA § 411. In doing so, we hope to protect your privacy to the extent possible while
        fulfilling our responsibilities under the statute. Accordingly, we seek your voluntary
        cooperation with our inquiry. Specifically, we request that you promptly furnish the
        documentation listed in the attachment to this letter, and that you subsequently agree to be
        interviewed, possibly via telephone, regarding your employment history as it pertains to the §


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        411 bar. We may also request that, a er you have had an opportunity to review a written
        summary of the information obtained in our investigation, you sign under oath a declaration
        that the information contained in the summary is correct.

        If the information and documentation you provide is su icient to establish your compliance
        with the bar, it may eliminate altogether our need to seek or to corroborate this information
        with third parties (e.g., employers, neighbors, etc.)

        Attached to this letter is the documentation we request at this time. Please deliver these
        items to the undersigned within three weeks of your receipt of this letter. You may provide the
        documentation in paper form or electronically in PDF format.

        Finally, we ask that you provide a telephone number and time of day when you would prefer
        that we call you, when necessary, to discuss this inquiry.

        Thank you in advance for your cooperation. If you have any questions, please do not hesitate
        to contact me at [tel. no.] or [email address]

        Sincerely,
        Case Investigator

        Please Provide the Following Documentation as Discussed in the Accompanying Letter
        (Additional documentation may be required)

              1. Documents su icient to establish your full name, date of birth, and Social Security
                 Number

              2. Documents su icient to establish your current home address and all prior home
                 addresses dating back to the e ective date of your debarment* but no more than 3
                 years

              3. Documents su icient to establish the names and addresses of all current and former
                 employers, including documents identifying all supervisors, dating back to the
                 e ective date of your debarment but no more than 3 years. Identify all periods of self-
                 employment and unemployment. Account for all periods of time

              4. Copies of all federal tax returns dating back to the e ective date of your debarment but
                 no more than 3 years



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              5. Copies of all Form W-2s and all employment-related Form 1099s dating back to the
                 e ective date of your debarment but no more than 3 years

              6. Copies of all employment contracts and personal service contracts dating back to the
                 e ective date of your debarment but no more than 3 years

              7. For each position or job held, provide the job title and a complete description of the
                 work actually performed in the position or job. To the extent any work directly or
                 indirectly involved any employee benefit plan, fully describe the exact nature of the
                 work you performed with respect to the employee benefit plan

        * This date is set forth in the accompanying letter.

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        Figure 2
        Report of Investigation
        U.S. Department of Labor
        Employee Bene ts Security Administration
        This document is the property of the Employee Benefits Security Administration. It is not to
        be disclosed to unauthorized persons.

        File No.

        Subject: (Name and Address of Prohibited Person)

        Date:

        By:

        Investigator/Auditor

        Approved by:


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        EIN/PN:

        Status: Closed

               I. Predication - State the reasons for case opening and conducting the investigation.

              II. Issues and Findings - Cite the facts which show:

                        a. Disqualifying O ense - Describe the o ense for which the subject was convicted
                           and consequently barred from employment in employee benefit plans under
                           section 411 of ERISA.

                       b. Notification of Disbarment - Describe any known notifications of disbarment,
                          including proof of receipt. If the subject indicates non-receipt, describe the
                          actions taken to o icially notify the subject of debarment, including proof of
                          receipt.

                        c. Nature of Current Employment of Applicant - Include a description of any
                           employment position. Be specific about all duties and authority for which the
                           subject may be responsible as they relate to employee benefit plans. Provide
                           su icient facts showing that the employment was or was not prohibited.

                       d. Actions Taken - In cases where prohibited employment is found, cite the facts
                          showing that VC was achieved, if applicable, or that other dispositive action was
                          taken.

             III. Other Findings - This section can be used to present facts or any other investigative
                  activity not previously mentioned.



        [To be used at the discretion of the Regional Director]

        Distribution:

        National O ice:

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        Figure 3
        Part 4 - Procedure Governing Applications
        for Certi cates of Exemption under the
        Labor-Management Reporting and
        Disclosure Act of 1959, and the Employee
        Retirement Income Security Act of 1974
        Sec.
        4.1 Definitions
        4.2 Who may apply for Certificate of Exemption
        4.3 Contents of application
        4.4 Supporting a idavit; additional information
        4.5 Character endorsements
        4.6 Institution of proceedings
        4.7 Notice of hearing; postponements
        4.8 Hearing
        4.9 Representations
        4.10 Waiver of oral hearing
        4.11 Appearance; testimony; cross examination
        4.12 Evidence which may be excluded
        4.13 Record of decision. Receipt of documents comprising record; timing and extension
        4.14 Administrative law judge's recommended decision; exceptions thereto; oral argument
        before Commission
        4.15 Certificate of Exemption
        4.16 Rejection of application
        4.17 Availability of decisions

        Authority: Secs. 504, 606, Stat. 536, 540 (29 U.S.C. 504, 526): and Secs. 411, 507A. 88 Stat. 887,
        894, (29 U.S.C. 1111, 1137).

        Source: 44 FR 6890, Feb. 2, 1979, unless otherwise noted.

        Cross Reference: For Organization Statement, U.S. Parole Commission, see Subpart V of Part
        O of this chapter.


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        § 4.1 De nitions
        As used in this part:

              a. Labor Act means the Labor-Management Reporting and Disclosure Act of 1959 (73 Sta.
                 519).
              b. Pension Act means the Employee Retirement Income Security Act of 1974 (Pub. L. 94-
                 406)(88 Sta. 829)
              c. Act means both of the above statutes.
              d. Commission means the United States Parole Commission.
              e. Secretary means the Secretary of Labor or his designee.
               f. For proceeding under the "Labor Act"

                        1. Employer means the labor organization or person engaged in an industry or
                           activity a ecting commerce, or group or association of employers dealing with
                           any labor organization, which an applicant under Section 4.2 desires to serve in
                           a capacity for which he is ineligible under section 504(a) of the "Labor Act".
                        2. All other terms used in this part shall have the same meaning as identical or
                           comparable terms when those terms are used in the "Labor Act".
              g. For proceedings under the "Pension Act"

                        1. Employer means the employee benefit plan with which an applicant under § 4.2
                           desires to serve in a capacity for which he is ineligible under section 411(a) of the
                           "Pension Act" (29 U.S.C. section 1111).
                        2. All other terms used in this part shall have the same meaning as identical or
                           comparable terms when those terms are used in the "Pension Act".

        § 4.2 Who may apply for Certi cate of Exemption
        Any person who has been convicted of any of the crimes enumerated in section 504(a) of the
        "Labor Act" whose service, present or prospective, as described in that section because of
        such a conviction or a prison term resulting therefrom; or any person who has been convicted
        of any of the crimes enumerated in section 411(a) of the "Pension Act" (29 U.S.C. section
        1111) whose service, present or prospective, as described in that section is or would be
        prohibited by that section because of such a conviction or a prison term resulting therefrom,
        may apply to the Commission for a Certificate of Exemption from such a prohibition under
        the applicable Act.

        § 4.3 Contents of applications

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        A person applying for a Certificate of Exemption shall file with the O ice of General Counsel,
        U.S. Parole Commission, 5500 Friendship Boulevard, Chevy Chase, Maryland 20815-7286, a
        signed application under oath, in seven copies, which shall set forth clearly and completely
        the following information:

              a. The name and address of the applicant and any other names used by the applicant
                 and dates of such use.
              b. A statement of all convictions and imprisonments, which prohibit the applicant's
                 service under the provisions of the applicable Act.
              c. Whether any citizenship rights were revoked as a result of conviction or imprisonment
                 and if so the name of the court and date of judgment thereof and the extent to which
                 such rights have been restored.
              d. The name and location of the employer and a description of the o ice or paid position,
                 including the duties thereof, for which a Certificate of Exemption is ought.
              e. A full explanation of the reasons or grounds relied upon to establish that the
                 applicant's service in the o ice or employment for which a Certificate of Exemption is
                 sought would not be contrary to the purposes of the applicable Act.
               f. A statement that the applicant does not, for the purpose of the proceeding, contest the
                  validity of any conviction.

        (28 U.S.C. 509 and 510, 5 U.S.C. 301)
        (44 FR 6890, Feb. 2, 1979, as amended at 46 FR 52354, Oct. 27, 1981)

        § 4.4 Supporting a                         davit; additional information

              a. Each application filed with the Commission must be accompanied by a signed
                 a idavit, in 7 copies, setting forth the following concerning the personal history of the
                 applicant:

                        1. Place and date of birth. If the applicant was not born in the United States, the
                           time of first entry and port of entry, whether he/she is a citizen of the United
                           States, and if naturalized, when, where and how he/she became naturalized and
                           the number of his Certificate of Naturalization.
                        2. Extent of education, including names of schools attended.
                        3. History of marital and family status, including a statement as to whether any
                           relatives by blood or marriage are currently serving in any capacity with an
                           employee benefit plan, or labor organization, group or association of employers
                           dealing with labor organizations or industrial labor relations group, or currently

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                           advising or representing any employer with respect to employee organizing
                           concerted activities or collective bargaining activities.
                        4. Present employment, including o ice or o ices held with a description of the
                           duties thereof.
                        5. History of employment, including military service, in chronological order.
                        6. Licenses held at the present or at any time in the past five years, to possess or
                           carry firearms.
                        7. Veterans' Administration claims number and regional o ice handling claim, if
                           any.
                        8. A listing (not including tra ic o enses for which a fine of not more than $25 was
                           forfeited) by date and place of all arrests, convictions for felonies,
                           misdemeanors, or o enses and all imprisonment or jail terms resulting
                           therefrom, together with a statement of the circumstances of each violation
                           which led to arrest of conviction.
                        9. Whether applicant was ever on probation or parole, and if so the names of the
                           courts by which convicted and the dates of conviction.
                      10. Names and location of all employee benefit plans, labor organizations or
                          employer groups with which the applicant has ever been associated or
                          employed, and all employers or employee benefit plans which he has advised or
                          represented concerning employee organizing, concerted activities, or collective
                          bargaining activities together with a description of the duties performed in each
                          such employment or association.
                      11. A statement of applicant's net worth, including all assets held by him or in the
                          names of others for him, the amount of each liability owed by him or by him
                          together with any other person and the amount and source of all income during
                          the immediately preceding five calendar years plus income to date of
                          application.
                      12. Any other information that the applicant feels will assist the Commission in
                          making its determination.
              b. The Commission may require of the applicant such additional information as it deems
                 appropriate for the proper consideration and disposition of his application.

        § 4.5 Character endorsements
        Each application filed with the Commission must be accompanied by letters or other forms of
        statement (in three copies) from six persons addressed to the Chairman, U.S. Parole
        Commission, attesting to the character and reputation of the applicant. The statement as to
        character shall indicate the length of time the writer has known applicant, and shall describe
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        applicant's character traits as they relate to the position for which the exemption is sought
        and the duties and responsibilities thereof. The statement as to reputation shall attest to
        applicant's reputation in his community or in his circle of business or social acquaintances.
        Each letter or other form of statement shall indicate that it has been submitted in compliance
        with procedures under the respective Act and that applicant has informed the writer of the
        factual basis of his application. The persons submitting letters or other forms of statement
        shall not include relatives by blood or marriage, prospective employers, or persons serving in
        any o icial capacity with an employee benefit plan, labor organization, group or association
        of employers dealing with labor organizations or industrial labor relations groups.

        § 4.6 Institution of proceedings
        All applications and supporting documents received by the Commission shall be reviewed for
        completeness by the O ice of General Counsel of the Parole Commission and, if complete
        and fully in compliance with the regulations of this part, the O ice of General Counsel shall
        accept them for filing. Applicant and/or his representative will be notified by the O ice of
        General Counsel of any deficiency in the application and supporting documents. The amount
        of time allowed for deficiencies to be remedied will be specified in said notice. In the event
        such deficiencies are not remedied within the specified period or any extension thereof,
        granted a er application to the Commission in writing within the specified period, the
        application shall be deemed to have been withdrawn and notice thereof shall be given to
        applicant.

        § 4.7 Notice of hearing postponements
        Upon the filing of an application, the Commission shall: (a) Set the application for a hearing
        on a date within a reasonable time a er its filing and notify the applicant of such date by
        certified mail; (b) Give notice, as required by the respective Act, to the appropriate State,
        County or Federal prosecuting o icials in the jurisdiction or jurisdiction in which the
        applicant was convicted that an application for a Certificate of Exemption has been filed and
        the date for hearing thereon; and (c) Notify the Secretary that an application has been filed
        and the date for hearing thereon and furnish him copies of the application and all supporting
        documents. Any party may request a postponement of a hearing date in writing from the
        O ice of General Counsel at any time prior to ten (10) days before the scheduled hearing. No
        request for postponement other than the first for any party will be considered unless a
        showing is made of cause entirely beyond the control of the requester. The granting of such
        requests will be within the discretion of the Commission. In the event of a failure to appear on



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        the hearing date as originally scheduled or extended, the absent party will be deemed to
        have waived his right to a hearing. The hearing will be conducted with the parties present
        participating and documentation, if any, of the absent party entered into the record.

        § 4.8 Hearing
        The hearing on the application shall be held at the o ices of the Commission in Washington,
        D.C., or elsewhere as the Commission may direct. The hearing shall be held before the
        Commission, before one or more Commissioners, or before one or more administrative law
        judges appointed as provided by section 11 of the Administrative Procedure Act (5 U.S.C.
        3105) as the Commission by order shall determine. Hearings shall be conducted in
        accordance with sections 7 and 8 of the Administrative Procedure Act (5 U.S.C. 556, 557).

        § 4.9 Representation
        The applicant may be represented before the Commission by any person who is a member in
        good standing of the bar of the Supreme Court of the United States or of the highest court of
        any State or territory of the United States or the District of Columbia and who is not under any
        order of any court suspending, enjoining, restraining or disbarring him from, or otherwise
        restricting him in, the practice of law. Whenever a person acting in a representative capacity
        appears in person or signs a paper in practice before the Commission, his personal
        appearance or signature shall constitute a representation to the Commission that under the
        provisions of this part and applicable law he is authorized and qualified to represent the
        particular person in whose behalf he acts. Further proof of a person's authority to act in a
        representative capacity may be required. When any applicant is represented by an attorney at
        law, any notice or other written communication required or permitted to be given to or by
        such applicant shall be given to or by such attorney. If an applicant is represented by more
        than one attorney, service by or upon any one of such attorneys shall be su icient.

        § 4.10 Waiver of oral hearing
        The Commission upon receipt of a statement from the Secretary that he does not object, and
        in the absence of any request for oral hearing from the others to whom notice has been sent
        pursuant to §4.7 may grant an application without receiving oral testimony with respect to it.

        § 4.11 Appearance; testimony; cross-examination

              a. The applicant shall appear and, except as otherwise provided in §4.10, shall testify at
                 the hearing and may cross-examine witnesses.


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              b. The Secretary and other to whom notice has been sent pursuant to §4.7 shall be
                 a orded an opportunity to appear and present evidence and cross-examine witnesses,
                 at any hearing.
              c. At the discretion of the Commission or presiding o icer, other witnesses may testify at
                 the hearing.

        § 4.12 Evidence which may be excluded
        The Commission or o icer presiding at the hearing may exclude irrelevant, untimely,
        immaterial or unduly repetitious evidence.

        § 4.13 Record for decision, receipt of documents comprising
        record; timing and extension

              a. The application and all supporting documents, the transcript of the testimony and oral
                 argument at the hearing, together with any exhibits received and other documents
                 filed pursuant to these procedures and/or the Administrative Procedures Act shall be
                 made parts of the record for decision.
              b. At the conclusion of the hearing the presiding o icer shall specify the time for
                 submission of proposed findings of fact and conclusions of law (unless waived by the
                 parties), transcript of the hearing and supplemental exhibits, if any. He shall set a
                 tentative date for the recommended decision based upon the timing of these
                 preliminary steps. Extensions of time may be requested by any party, in writing from
                 the Parole Commission. Failure of any party to comply with the time frame as
                 established or extended will be deemed to be a waiver on his part of his right to submit
                 the document in question. The adjudication will proceed and the absence of said
                 document and reasons thereof will be noted in the record.

        § 4.14 Administrative law judge's recommended decision;
        exceptions thereto; oral argument before Commission
        Whenever the hearing is conducted by an administrative law judge, at the conclusion of the
        hearing he shall submit a recommended decision to the Commission, which shall include a
        statement of findings and conclusions as well as the reasons therefore. The applicant, the
        Secretary and others to whom notice has been sent pursuant to §4.7 may file with the
        Commission, within 10 days a er having been furnished a copy of the recommended
        decision, exceptions thereto and reasons in support thereof. The Commission may order the
        taking of additional evidence and may request the applicant and others to appear before it.
        The Commission may invite oral argument before it on such questions as it desires.


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        The applicant, the Secretary and others to whom notice has been sent pursuant to §4.7 shall
        be served a copy of the Commission's decision and order with respect to each application.
        Whenever the Commission's decision is that the application

        § 4.15 Certi cate of Exemption
        The applicant, the Secretary and others to whom notice has been sent pursuant to §4.7 shall
        be served a copy of the Commission's decision and order with respect to each application.
        Whenever the Commission's decision is that the application be granted, the Commission
        shall issue a Certificate of Exemption to the applicant. The Certificate of Exemption shall
        extend only to the stated employment with the prospective employer named in the
        application.

        § 4.16 Rejection of application
        No application for a Certificate of Exemption shall be accepted from any person whose
        application for a Certificate of Exemption has been withdrawn, deemed withdrawn due to
        failure to remedy deficiencies in a timely manner, or denied by the Commission within the
        preceding 12 months.

        § 4.17 Availability of decisions
        The Commission's Decisions under both Acts are available for examination in the O ice of the
        U.S. Parole Commission, 5550 Friendship Boulevard, Chevy Chase, Maryland 20815-7286.
        Copies will be mailed upon written request to the O ice of General Counsel, U.S. Parole
        Commission, at the above address at a cost of ten cents per page.

        (28 U.S.C. 509 and 510, 5 U.S.C. 301);(44 FR 6890, Feb. 2, 1979, as amended at 46 FR 52354,
        Oct. 27, 1981)

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        Figure 4
        Report of Investigation
        Sample Format
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        U.S. Department of Labor
        Employee Bene ts Security Administration
        This document is the property of the Employee Benefits Security Administration. Its contents
        are not to be disclosed to unauthorized persons.

        File No.

        Subject:

        (Name and Address of Applicant)

        Date

        Name and address of Plan

        By Investigator/Auditor

        EIN/PN

        Approved by

        Status

               I. Predication

                  State the reason for the case opening and for conducting an investigation.

              II. Issues and Findings

                  Cite the facts, which show:

                        a. Nature of Employment Sought by Applicant

                           Include a description of the position, including the duties for which the
                           Certificate of Exemption is sought.

                           Establish the validity or lack of validity of the reasons or grounds relied on to
                           show the applicant's employment (for which the Certificate of Exemption is
                           sought) would not be contrary to the purpose of ERISA. Include a statement
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                           concerning what access, if any, the applicant will have to plan funds and the
                           degree of authority and discretion he/she will have in the position.

                       b. Arrests, Convictions and Rehabilitation

                           Verify applicant's statements in his/her supporting a idavit as to his/her history
                           of arrests and convictions, which prohibit applicant's service to an employee
                           benefit plan under Section 411 of ERISA.

                           Under this heading, report views of the prosecuting o icials, arresting o icers,
                           and judges, regarding the application for a Certificate of Exemption and include
                           as exhibits. Include details of any mitigating or aggravating circumstances which
                           might have been involved with regard to the factors listed in paragraph 2 of this
                           Chapter.

                        c. Disqualifying O ense

                           Describe the o ense for which the subject was convicted and consequently
                           barred from employment in employee benefit plans under section 411 of ERISA.

                           Discuss the subject's involvement in the o ense. Include the extent of the
                           subject's participation. Establish information such as whether the subject was
                           an accessory or the principal perpetrator.

                       d. Nature of the Employment O ered

                           Describe the position for which the applicant is seeking an exemption. Be
                           specific about the duties and authority for which the subject will be responsible
                           as they relate to employee benefit plans.

                        e. Personal Information

                           Under this heading, report the results of the investigation into the accuracy of
                           the sworn statements made by the applicant in his/her supporting a idavit and
                           not previously mentioned in the report. This should include but not be limited
                           to: birth date, extent of education, marriage and family status, present
                           employment, past employment, military service, licenses issued, criminal record
                           and probation or parole (if not previously reported in Part B above), labor
                           organizations (with which applicant has been associated or employed), and
                           financial background including net worth.

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                        f. Neighborhood Investigation

                           Include statements of neighbors, landlord and superintendent (where
                           applicable) as to applicant's status in the neighborhood and to verify applicant's
                           residence.

                        g. Credit Check

                           Include reports of local credit bureaus and results of investigations at county
                           clerk's o ices regarding judgments against the applicant.

                        h. Character References

                           Include as exhibits interviews conducted with individuals who supported the
                           applicant's application for exemption.

        Exhibits
        All significant facts presented in the report should be supported with exhibit citations. The
        following procedure should be used in submitting exhibits:

              1. State the name of the individual who is the subject of an Report of Interview or signed
                 statement and the date of the interview.

              2. Documents, schedules, etc., should be precisely identified.

              3. Each supporting document should be a separate exhibit.

              4. Multiple page exhibits should be numbered.

              5. Exhibits should be identified by number.

              6. All copies must be legible.

              7. All plan documents (trust agreements, etc.) must be included as exhibits.

        List of Documents and Workpapers Available in Regional O                                                 ce
        but Not Used as Exhibits
        List documents, schedules, Reports of Interview, etc., in the Regional O ice file that were not
        included as exhibits. Identify each document by the date(s) covered.


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        Figure 5
        Format for Regional Director's Cover Memo
        for an Report Of Investion in a Prohibited
        Persons Case - Program 47
        U.S. Department of Labor
        Employee Bene ts Security Administration
        Memorandum For: SOL Counsel

        From: Regional Director

        XYZ Regional O ice

        Subject: Name, Address of Applicant

        Name, Address and EIN of Plan

        First paragraph – briefly state the basis for opening the case.

        Second paragraph – briefly state the nature of the original conviction and any mitigating
        circumstances involved in sentencing.

        Third paragraph – briefly state investigative results, specifically commenting on the
        applicant's e orts at rehabilitation.

        Fourth paragraph – briefly state the recommendation of the Regional O ice as to whether the
        Department of Labor should contest the application.

        cc: File, Deputy Director for Criminal Enforcement

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        Footnotes
              1. As amended by the Comprehensive Crime Control Act of 1984, Section 411 of ERISA
                 prohibits individuals convicted of disqualifying crimes from serving in plan-related
                 capacities during or for a period of 13 years a er such conviction or the end of
                 imprisonment, whichever is later. The period may be shortened by:

                        a. The sentencing court to not less than 3 years following such conviction or end of
                           such imprisonment, whichever is later, or
                       b. His/her citizenship rights, revoked as a result of the conviction, are restored in
                          full, or
                        c. A federal district court determined service in any of the prohibited capacities
                           would

                                  i. Not be contrary to the purposes of Title I of ERISA;
                                 ii. In accordance with the sentencing policy at U.S.S.G Section 5J1.1; and
                                iii. The convicted individual was su iciently rehabilitated as to not endanger
                                     the organization seeks to serve.
              2. Before opening a Prohibited Persons proactive investigation, the RO should determine
                 whether the subject was convicted of a debarring crime. If the crime is not an
                 enumerated crime, then the RO should seek assistance from OE.

              3.           For any disqualifying crime committed prior to November 1, 1987, a person
                           seeking an Application for Exemption directs the request to the United States
                           Parole Commission.
                           For a disqualifying crime committed on or a er November 1, 1987, a person
                           convicted of a disqualifying federal o ense directs the Petition for Exemption to
                           the sentencing judge. If the conviction is a disqualifying state or local o ense,
                           the person must direct the petition to the United States District Court for the
                           district in which the disqualifying o ense was committed.
                           A person seeking a Petition for Reduction of the Length of Disability for
                           disqualifying judgments of conviction entered a er October 12, 1984 directs the
                           request to the state or federal sentencing judge. No such relief was available
                           prior to October 12, 1984.



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               4. Pursuant to Section III, of the DOL/DOJ Memorandum of Understanding (MOU) related
                  to criminal investigations (See Criminal Investigations).
               5. 28 CFR Part 4




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